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 1   Ryan E. Hatch (SBN 235577)
     HATCH LAW, P.C.
 2   13323 Washington Blvd, Suite 302
     Los Angeles, CA 90066
 3   (310) 279-5076 Telephone
     (310) 693-5328 Facsimile
 4   ryan@hatchlaw.com
 5   Alan Sege (SBN 177350)
     ALAN SEGE ESQ., PC
 6   13323 Washington Blvd, Suite 302
     Los Angeles, CA 90066
 7   (310) 957-3301 Telephone
     alan@alansege.com
 8
     Attorneys for Plaintiff Actian Corporation
 9

10

11                                   UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13
     ACTIAN CORPORATION                                  Case No. 5:24-cv-1470
14
                        Plaintiff,                       PLAINTIFF’S ORIGINAL COMPLAINT
15

16    v.                                                 Jury Trial Demanded
17
     ENOCEAN INC., ENOCEAN USA INC.,
18   ENOCEAN EDGE INC., and ENOCEAN
     GMBH
19
                        Defendants.
20

21

22           Plaintiff, Actian Corporation (“Plaintiff” or “Actian”), hereby files this Original

23    Complaint and asserts, through its attorneys, claims against EnOcean Inc., EnOcean USA

24    Inc., EnOcean Edge Inc., and EnOcean GmbH (collectively, “EnOcean” or “Defendants”).

25                                         INTRODUCTION

26           1.      In this case, Actian asserts claims for breach of contract, copyright infringement

27    and negligence against defendants EnOcean.

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 1          2.      If you live, work and breathe in any building with HVAC systems made by major

 2   manufacturers like Johnson Controls or Honeywell, there is a good chance that your air is heated,

 3   cooled and filtered using EnOcean’s software, including Actian copyrighted computer programs,

 4   which EnOcean reproduces, distributes and monetizes with no license from Actian, infringing

 5   Actian’s copyrights.

 6          3.       The Actian software at issue in this lawsuit includes, without limitation, versions

 7   of Actian’s FastObjects computer programs, formerly entitled POET (“FastObjects”) (the

 8   “Software”). The Software is protected by valid copyrights owned by Actian, including without

 9   limitation U.S. Copyright Registration Nos. TX0009355977 (POET version 4.0.0.0.25),

10   TXu002341608 (POET version 5.1), TX0009356207 (POET version 5.0.3.88), Copyright

11   Registration Nos. TXu002344685 (FastObjects version 8), TX0009328613 (FastObjects version

12   8), TX0009232880 (FastObjects version 9.5), TX0009322004 (FastObjects 10), TX0009322008

13   (FastObjects 11), TX0009327286 (FastObjects 12), TX0009366869 (FastObjects 14),

14   TX0009328206 (POET version 5.1), and TX0009367924 (POET Developer Network 1997,

15   No.2) (collectively, the “Copyrights”).

16          4.      EnOcean, and companies that preceded it exploiting the Software for their own

17   financial gain, create computer programs, including “LonWorks” through which building owners

18   or managers control their climate control and HVAC systems made by EnOcean’s customers who

19   are major manufacturers. It has come to light that EnOcean and potentially those preceding

20   distributors have been reproducing and distributing copies of the Software without any license by

21   Actian, beyond the scope of any license granted by Actian. And in the case of EnOcean’s

22   predecessors, they exploited the Software in material breach of license so severe, that the license

23   terminated.

24          5.      Completing the process of abuse and disregard of Actian’s rights, in October 2023,

25   EnOcean announced itself to be the inheritor of a license agreement with Actian, announcing

26   further that it refused to assume all of the terms and conditions under that license agreement, but

27   only the obligations following the date of EnOcean’s self-interested pronouncement. Maybe

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 1   EnOcean’s aim was to enjoy all of the benefits of an Actian license, leaving Actian to enforce its

 2   rights only against EnOcean predecessors who now have no more need for the Software. In all

 3   events, by the time EnOcean claims to have acquired the license agreement, the licensee (from

 4   whom EnOcean claims to have acquired the license agreement), was in material breach. Soon

 5   thereafter that license agreement was terminated for material breach.

 6          6.      Until today, EnOcean has never purchased or received a license of any type with

 7   respect to the Software from Actian. Until today, EnOcean has not acquired from any third party

 8   any license to use, reproduce, distribute copies or in any other manner exploit or commercialize

 9   Actian’s software. And the license agreement that EnOcean feigns acquiring does not exist

10   because it was terminated long ago.

11          7.      But every day, EnOcean continues to reproduce, distribute and sell copies of the

12   Actian software with zero regard for Actian’s rights under any contract or copyright.

13          8.      The agreement to which EnOcean now purports to be a party – the “Actian OEM

14   Agreement,” dated December 11, 1995, between a predecessor to Actian, Versant Corporation,

15   and Echelon Corporation (the “OEM Agreement,” attached hereto as Exhibit A), is an integrated

16   written agreement, including entire agreement and non-waiver clauses. And it does not work the

17   way EnOcean wishes. The anti-assignment clause written in Section 12.2 of the OEM Agreement

18   prevents exactly EnOcean’s current scheme. Any assignee is required to assume all of the terms

19   and conditions of the OEM Agreement, without reservation, and therefore without palming off

20   past liabilities on predecessors with no current incentive or business need to honor Actian’s rights.

21                                            THE PARTIES

22          9.      Actian Corporation is a Delaware corporation that has its principal place of

23   business in the Northern District of California. Actian is a software development and services

24   company whose primary focus is hybrid data management, integration, and analytics.

25          10.     EnOcean Inc. is a Delaware corporation with a principal place of business at 8184

26   S Highland Dr Ste C5 Sandy, UT 84093. EnOcean Inc. can be served by its registered agent for

27   service of process at Corporation Service Company - 251 Little Falls Dr, Wilmington, DE 19808.

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 1          11.       EnOcean USA, Inc. is a Delaware corporation with a principal place of business

 2   at 8184 S Highland Dr Ste C5 Sandy, UT 84093. EnOcean USA can be served by its registered

 3   agent for service of process at Corporation Service Company - 251 Little Falls Dr, Wilmington,

 4   DE 19808.

 5          12.       EnOcean Edge Inc. is headquartered at 8184 S Highland Dr Ste C5 Sandy, UT

 6   84093. EnOcean Edge Inc. can be served by its registered agent for service of process at

 7   Corporation Service Company - 251 Little Falls Dr, Wilmington, DE 19808.

 8          13.       EnOcean GmbH is a Germany corporation entity with a principal place of business

 9   at Kolpingring 18a 82041 Oberhaching Germany.

10                                    JURISDICTION AND VENUE

11          14.       The Court has subject-matter jurisdiction over this action. This action arises under

12   the Copyright Act, 17 U.S.C. §§ 101 et seq. The Court therefore has jurisdiction pursuant to 28

13   U.S.C. § 1331. Separately, the Court has jurisdiction pursuant to 28 U.S.C. § 1332, because there

14   is complete diversity between the parties and the amount in controversy exceeds $75,000. For

15   example, Actian is a citizen of California and Delaware, and EnOcean GmbH is a citizen of

16   Germany. The Court also has supplemental jurisdiction over state-law claims pursuant to 28

17   U.S.C. § 1367.

18          15.       The Court has personal jurisdiction over EnOcean, and EnOcean is subject to

19   personal jurisdiction in California and in the Northern District of California. EnOcean and its

20   controlled affiliated companies conduct business in this District, including by providing products

21   and software to major customers located in California, which, on information and belief, includes

22   the Software. EnOcean has, through these locations in California and in this District, committed

23   acts of infringement and breach of contract as described herein.

24          16.       Venue is proper in this District. A substantial part of the events or omissions

25   giving rise to claims herein occurred in this District. Furthermore, EnOcean resides in this

26   District for purposes of 28 U.S.C. § 1391 because EnOcean, or its controlled companies publicly

27   and regularly operate, maintain, and conduct business in this District.

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 1           17.       Moreover, the claims and allegations described in this complaint arise out of

 2   EnOcean’s purposeful contacts with California.           For example, the OEM Agreement and

 3   amendments to it were negotiated and executed in this District, and EnOcean became party to the

 4   OEM Agreement with a predecessor of Actian, Versant Corporation, which resided in this

 5   District, as does Actian. Section 12.1 of the OEM Agreement provides that “[t]his Agreement

 6   shall be governed by and interpreted in accordance with the laws of California,” and further

 7   provides that applies California law applies to breach of contract and other claims “related to or

 8   arising out of” the agreement.

 9           18.       Further, EnOcean has directed communications regarding the distribution of the

10   Software to California, has committed acts of breach of contract and copyright infringement in

11   California. Moreover, EnOcean has made substantial distributions and, on information and belief,

12   sublicenses of its computer software applications (“Applications”) containing EnOcean software

13   in California and in this District, which included such distributions that were infringing and not

14   properly reported and paid for.

15           19.       As recently as last year, EnOcean personnel responsible as product managers of

16   LonWorks tools and other EnOcean software that includes Actian’s Software have conducted

17   business and operational discussions with Actian from those EnOcean staffpersons places of work

18   in California, in this District.

19           20.       Defendants also have employees and seek employees in this District and

20   throughout the State of California, including, for example, the following employees:

21                 •   Joseph Doan, San Jose, CA

22                     Software Development Engineer, September 2022-Present

23                 •   Michael Burgett, Newark, CA

24                     Principal Software Developer, July 2020-Present

25                 •   Rich Blomseth, San Jose, CA

26                     Director of Product Management, (including management of products that include

27                     Actian Software) October 2022-Present

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 1                •   Robert Guzikowski, San Francisco, CA

 2                    Senior Solutions Architect, October 2022-Present

 3                •   Darron Fick, San Jose, CA

 4                    Embedded Software Developer, October 2022-Present

 5                •   Mike Berke, Newark, CA

 6                    Principal Module and Systems Engineer, October 2022-Present

 7                •   Avinash Agrawal, San Francisco, CA

 8                    VP of Engineering, 2019-2020, Senior Director of Engineering, 2020-2023

 9                •   Xiuyan Guo, Mountain View, CA

10                    Engineer, March 2009-Present

11          21.       Defendants also maintain a Nonprofit Organization, EnOcean Alliance, in

12   California, with their office located in in 5000 Executive Parkway, Suite 302 San Ramon, CA.

13          22.       Plaintiff further incorporates the allegations in this Complaint herein for purposes

14   of jurisdiction and venue.

15                                      FACTUAL BACKGROUND

16          23.       Actian is renowned for its innovative data management, integration, and analytics

17   technologies. Actian has an installed base of many thousands of customers including large global

18   enterprises, public sector entities, and small to medium enterprises.

19          24.       The Actian software at issue in this lawsuit is the FastObjects software, including

20   but not limited to version 11.0.4.104 of such software. The FastObjects software is used to

21   manage data in complex environments in need of high-performance capabilities.

22          25.       EnOcean is an energy harvesting technology company that offers wireless

23   technology for automated systems and various Applications. A number of those Applications

24   such as those in its “LonWorks” suite of Applications rely upon FastObjects software to function.

25   EnOcean distributes the Applications containing FastObjects software to laboratories and

26   businesses across the world, including those located in California.

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 1          26.     In a letter to Actian dated, October 1, 2022, Renesas Design Czech s.r.o. (d.b.a.

 2   Dialog Semiconductor US Inc.) (“Renesas”), a party claiming to be a valid successor to Echelon

 3   Corporation’s rights under the OEM Agreement, wrote that on September 18, 2022, it assigned

 4   all rights and obligations under the OEM agreement to “EnOcean Inc.” – a company that on

 5   Actian’s information and belief does not exist. Section 12.2 of the OEM Agreement conditions

 6   assignment of rights under the OEM Agreement to a purchaser of “all or substantially all of,” the

 7   “assets” of a Party, on “the assignee agrees in writing to be bound by all of the terms and

 8   conditions of the Agreement.” No successor to Renesas, including any entity known as EnOcean,

 9   has ever agreed to that in writing. In fact, on more than one occasion, including in a letter dated

10   July 8, 2023, persons or entities identifying themselves by the name EnOcean have in writing

11   confirmed the opposite, that EnOcean refuses to be bound to any terms or conditions of the OEM

12   Agreement with respect to any “obligations prior to October 1, 2022.”

13          27.     Moreover, beginning when EnOcean came onto the scene, on or about October 1,

14   2022 and continuing through March of 2023, Actian learned that, even if it had been assigned

15   rights under the OEM Agreement (which it has not), EnOcean has engaged in acts that constitute

16   breach of contract and copyright infringement, as described more fully herein.

17          28.     Moreover, since it portended to take over the OEM Agreement, EnOcean has not

18   performed, and has refused to perform, under the reporting provisions of the OEM Agreement.

19   And EnOcean has refused Actian the right to audit EnOcean’s compliance under the auditing

20   provisions of the OEM Agreement. EnOcean has not paid fees and royalties that would have been

21   owed to Actian under the OEM Agreement, and has failed to calculate any such fees or royalties

22   correctly.

23          29.     As a result of Renesas’ wrongful conduct, on March 10, 2023, Actian provided

24   notice of breach and the opportunity to cure. Renesas failed to cure the breaches, including within

25   the 30-day cure period that Actian provided or otherwise.

26          30.     Entirely disregarding substantially all obligations under the OEM Agreement,

27   Actian’s breach notice had no effect on Renesas, and no effect upon EnOcean’s infringing

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 1   exploitation of Actian’s Software, or its sense of entitlement. Instead, EnOcean’s disregard only

 2   manifested further.

 3          31.     At length, all material breaches by Renesas remaining uncured, the OEM

 4   Agreement was terminated on March 10, 2023.

 5          32.     Even if Actian were to set aside EnOcean’s purposeful disregard of the conditions

 6   for receiving an assignment of the OEM Agreement, even since its self-declared assumption of

 7   the license in October, 2022, EnOcean has disregarded and breached virtually every material

 8   condition of the OEM Agreement since that time, even if the OEM Agreement were in force,

 9   providing EnOcean a license (which it is not). By way of very brief example, EnOcean withholds

10   all information to which Actian is entitled regarding “Subdistributors” under Section 2.2, and

11   fails to provide Actian with any revisions to its license agreements for end-users as required under

12   Section 2.3.

13          33.     Moreover, without regard for any restrictions in the OEM Agreement, EnOcean

14   continues to engage in distributions and receive revenue from permitting many or all end-users

15   themselves to reproduce and distribute copies of the Software in violation of the material

16   compensation terms of the OEM Agreement, including those of Exhibit B. It does this by

17   permitting end-users to make unlimited copies of the Software, not keeping any record of the

18   reproduction and distribution of copies, not reporting the copies to Actian following each calendar

19   quarter, not reporting to Actian its true “Gross Revenues” from distributing EnOcean’s LonWorks

20   applications that include the Software, and not paying Actian what would be owed by EnOcean,

21   were it even a party to the OEM Agreement. On information and belief, EnOcean continues to

22   include the Software within Applications other than LonWorks and associated tools. The OEM

23   Agreement provides no such right, and all such distributions are outside the scope of the license

24   granted under the OEM Agreement and constitute material breaches.

25          34.     Negotiations for any business resolution, or even for providing EnOcean with a

26   license to reproduce and distribute copies of the Software for the future have failed. EnOcean

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 1   persists in unlawfully reproducing and distributing the Software without license, or in all events,

 2   in continued material breach of the OEM Agreement.

 3            35.   Wholly ignored by EnOcean, Actian was constrained to file suit.

 4                                    FIRST CLAIM OF RELIEF

 5                                       Copyright Infringement

 6            36.   Actian restates and incorporates by reference every allegation in the preceding

 7   paragraphs.

 8            37.   Actian is the owner of the Copyrights, which are valid. The Copyrights include,

 9   without limitation, U.S. Copyright Registration Nos. TX0009355977 (POET version 4.0.0.0.25),

10   TXu002341608 (POET version 5.1), TX0009356207 (POET version 5.0.3.88), Copyright

11   Registration Nos. TXu002344685 (FastObjects version 8), TX0009328613 (FastObjects version

12   8), TX0009232880 (FastObjects version 9.5), TX0009322004 (FastObjects 10), TX0009322008

13   (FastObjects 11), TX0009327286 (FastObjects 12), TX0009366869 (FastObjects 14),

14   TX0009328206 (POET version 5.1), and TX0009367924 (POET Developer Network 1997,

15   No.2).

16            38.   EnOcean has committed acts of copyright infringement violating one or more of

17   the Copyrights, including without limitation by the following acts:

18            39.   Not being a party to the OEM Agreement, with no license or right to do so,

19   EnOcean has itself, or in concert with others, reproduced and distributed copies of the Software

20   from at least as early as September 18, 2022.

21            40.   In the alternative, if EnOcean were a party to the OEM Agreement, and if that

22   OEM Agreement has not been terminated, EnOcean has itself, or in concert with others,

23   reproduced and distributed copies of the Software, in violation of material conditions of the OEM

24   Agreement or beyond the scope of the license provided in the OEM Agreement, including without

25   limitation, by failing to pay any royalties as required under the OEM Agreement (including but

26   not limited to where the Software is bundled with other products or applications), by failing to

27   keep records or make reports as required under the OEM Agreement, by failing to submit to an

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 1   audit as required under the OEM Agreement, by failing to provide copies of End User Licenses

 2   under the OEM Agreement, by failing to comply with any of the post-termination provisions

 3   under the OEM Agreement, and by failing to accept all of the terms and conditions under the

 4   OEM Agreement, as the OEM Agreement requires of any assignee and particularly of an assignee

 5   who acquires rights through the purchase of “all or substantially all” of the assets of a party to the

 6   OEM Agreement.

 7          41.     The foregoing are only examples of EnOcean’s acts of copyright infringement,

 8   and there are likely other acts of infringement of which Actian remains unaware.

 9          42.     EnOcean’s infringement has been willful and intentional.

10          43.     As a direct and proximate result of EnOcean’s wrongful conduct, Actian is entitled

11   to damages in an amount to be proven at trial. Such damages include, but are not limited to,

12   Actian’s actual damages and EnOcean’s profits attributable to infringement, as well as the gross

13   revenues of EnOcean’s sublicensees, sub distributors, and end users attributable to infringement

14   in light of the contributory infringement. Moreover, to the extent permissible under the law,

15   Actian seeks recovery of its attorneys’ fees and costs, under 17 U.S.C. § 505.

16                                   SECOND CLAIM FOR RELIEF

17                                           Breach of Contract

18          44.     Actian restates and incorporates by reference every allegation in the preceding

19   paragraphs.

20          45.     While EnOcean is not party to any valid contract for the Software, Actian pleads

21   this claim of breach of contract in the alternative, because EnOcean contends that the OEM

22   Agreement is a valid written contract between Actian and EnOcean. Even if EnOcean were

23   correct, then they are liable for breach of contract.

24          46.     Actian performed under the OEM Agreement, including by providing EnOcean

25   access to the FastObjects software, pursuant to the terms of the OEM Agreement, and by

26   otherwise complying with and performing with the OEM Agreement.

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 1          47.      EnOcean has breached the OEM Agreement, including without limitation by

 2   acting and failing to act in at least the following ways:

 3                a. EnOcean has failed to provide royalty reports in breach of Section 3.2 of the OEM

 4                   Agreement;

 5                b. EnOcean has refused to submit to audits in breach of Section 3.3;

 6                c. EnOcean has failed to provide end user sublicenses or any changes in them in

 7                   breach of Section 2.3;

 8                d. EnOcean has failed to agree in writing to be bound by all terms and conditions of

 9                   the OEM Agreement, in violation of Section 12.2 of the OEM Agreement

10                   requiring particularly of an assignee who acquires rights through the purchase of

11                   “all or substantially all” of the assets of a party to the OEM Agreement;

12                e. EnOcean has failed to comply in any manner with the post-termination provisions

13                   including without limitation those set forth in Section 6.4, for example by neither

14                   returning nor certifying destruction of all copies of the Software in its possession;

15                f. On information and belief, EnOcean as failed to include Actian’s proprietary rights

16                   notices and omits Actian’s name as the owner of the software;

17                g. On information and belief, EnOcean has failed to add value to the software by

18                   adding its own software in breach of Section 2.6; and

19                h. EnOcean has failed to pay royalties in breach of Section 3.2 and Exhibit B of the

20                   OEM Agreement, including but not limited to royalties associated with bundling

21                   for sale or license the Software with other products or applications, in which case

22                   the royalty shall be based upon gross revenues attributable to the OEM

23                   Application, meaning applications that comprise a combination of the Software

24                   with other computer programs. EnOcean breached by basing royalties not on

25                   gross revenues attributable to the OEM Application, as required, but instead on a

26                   fraction of those revenues.

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 1          48.     The foregoing are only exemplary breaches, and there are likely other breaches

 2   and infringements, including ones of which Actian remains unaware.

 3          49.     EnOcean’s breaches have directly and proximately caused Actian damage.

 4          50.     Actian seeks recovery of all compensatory and other damages caused by

 5   EnOcean’s breaches.

 6                                   THIRD CLAIM OF RELIEF

 7                                            (Negligence)

 8          51.     Actian restates and incorporates by reference every allegation in the preceding

 9   paragraphs.

10          52.     EnOcean owed a duty of care to Actian to review and properly assume an

11   assignment of the OEM Agreement from Renesas, and thereafter to report to Actian, pay Actian,

12   submit to audits by Actian and in all other respects comply with the OEM Agreement, and in the

13   alternative not to engage in any reproducing, distributing and infringing of Actian’s copyrighted

14   works, including without limitation the Software.

15          53.     To the extent EnOcean’s view at the time was that the OEM Agreement was

16   unclear about assignment rights, EnOcean owed Actian a duty of care to review, understand and

17   attempt to comply with the terms and conditions of the OEM Agreement, and to communicate

18   and consult with Actian at the time, before engaging in potentially unlawful behavior by failing

19   to execute a valid purchase under the terms of the Agreement.

20          54.     Even if EnOcean (erroneously) believed that it was assigned rights by a

21   contracting party under the OEM Agreement, EnOcean breached its duty of care to Actian by

22   failing to review the Agreements at the time they engaged in their actions, and EnOcean further

23   breached their duty of care to Actian by failing to consult with Actian as to whether the

24   Agreements permitted their planned course of action.

25          55.     And even if EnOcean (erroneously) believed that it was assigned rights by a

26   contracting party under the OEM Agreement, EnOcean breached its duty of care to communicate

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 1   and consult with Actian at the time, before engaging in its series of acts and omissions violating

 2   the OEM Agreement and infringing Actian’s copyrights.

 3             56.   EnOcean’s breach caused Actian harm including without limitation anguish,

 4   expenditure of time, money and other resources in efforts to investigate and recover from

 5   EnOcean’s negligent conduct.

 6             57.   EnOcean is liable to Actian for compensatory damages. Actian also seeks an

 7   injunction against further negligent conduct by EnOcean.

 8                                        PRAYER FOR RELIEF

 9             WHEREFORE, Plaintiff Actian Corporation prays for judgment against Defendants as

10   follows:

11             1.    Finding Defendants liable for copyright infringement, including vicarious and

12   contributory copyright infringement, since it was not an assignee under the OEM Agreement;

13             2.    In the alternative, finding Defendants liable for breach of the OEM Agreement;

14             3.    Finding Defendants liable for Actian’s actual and compensatory damages in an

15   amount to be proven at trial;

16             4.    Finding Defendants liable for damages under the Copyright Act, including

17   Actian’s actual damages, Defendant’s profits attributable to infringement, and the profits of

18   Defendants’ customers, sublicensees and sub distributors attributable to infringement;

19             5.    Finding Defendants alternatively liable for statutory damages, including willful

20   infringement, under the Copyright Act;

21             6.    A preliminary and permanent injunction against Defendants prohibiting further

22   acts of breach of contract and copyright infringement;

23             7.    Finding Defendants liable for Plaintiff’s attorneys’ fees and costs;

24             8.    Finding Defendants liable for interest in the maximum amount allowable for all

25   asserted claims;

26             9.    Awarding Plaintiff all such other and further relief as the Court deems just and

27   proper.

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 2                                   JURY TRIAL DEMANDED

 3           Pursuant to Fed. R. Civ. P. 38, Plaintiff requests a trial by jury of any issues so

 4   triable by right.

 5
     Dated: March 11, 2024                          By: /s/ Ryan E. Hatch
 6
                                                    Ryan E. Hatch (SBN 235577)
 7                                                  HATCH LAW, P.C.
                                                    13323 Washington Blvd, Suite 302
 8                                                  Los Angeles, CA 90066
                                                    (310) 279-5076 Telephone
 9                                                  (310) 693-5328 Facsimile
                                                    ryan@hatchlaw.com
10
                                                    Alan Sege (SBN 177350)
11                                                  ALAN SEGE ESQ., PC
                                                    13323 Washington Blvd, Suite 302
12                                                  Los Angeles, CA 90066
                                                    (310) 957-3301 Telephone
13                                                  alan@alansege.com

14                                                  Attorneys for Plaintiff Actian Corporation

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                                    PLAINTIFF’S ORIGINAL COMPLAINT
